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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


ALLSTATE INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY                      C.A. No. 2:18-cv-13336
INSURANCE COMPANY; ALLSTATE
PROPERTY AND CASUALTY                           Paul D. Borman
INSURANCE COMPANY; ESURANCE                     United States District Judge
INSURANCE COMPANY; and
ESURANCE PROPERTY AND
CASUALTY INSURANCE COMPANY,

                         Plaintiffs,

v.

MERCYLAND HEALTH SERVICES,                           STIPULATION OF
PLLC; TOX TESTING, INC.;                          DISMISSAL WITHOUT
PARAGON LABS, LLC; MICHIGAN                         PREJUDICE AS TO
TECHNOLOGY PARTNERS, LLC;                             DEFENDANTS
CURE IMAGING, LLC; US HEALTH                      MERCYLAND HEALTH
PHARMACEUTICALS, LLC d/b/a                         SERVICES, PLLC AND
MEDS DIRECT; LIVONIA CARE                            MOHAMMED ALI
PHARMACY, INC.; BLOCK BILLING                      ABRAHAM, M.D. a/k/a
SOLUTIONS, LLC; MICHAEL                          MOHAMMED ALI IBRAHIM
ANGELO; CHITRA SINHA, M.D.;                               ONLY
MOHAMMED ALI ABRAHAM, M.D.
a/k/a MOHAMMED ALI IBRAHIM;
and NILESH PATEL,

                         Defendants.


      Pursuant to Fed. R. Civ. P. 41(a)(1), it is hereby stipulated and agreed by and

between plaintiffs Allstate Insurance Company, Allstate Fire and Casualty Insurance

Company, Allstate Property and Casualty Insurance Company, Esurance Insurance
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Company, and Esurance Property and Casualty Insurance Company (collectively,

“Allstate”) and defendants Mercyland Health Services, PLLC and Mohammed Ali

Abraham, M.D. a/k/a Mohammed Ali Ibrahim (collectively, the “Mercyland

defendants”) only, by and through their undersigned counsel, that Allstate’s

Complaint (Docket No. 1) be dismissed without prejudice as to the Mercyland

defendants without costs or fees of any kind to any party. It is hereby agreed that

the dismissal of Allstate’s Complaint shall be deemed to become with prejudice upon

satisfaction of all terms of the settlement reached between the parties. It is also

hereby agreed by the parties that this Court shall retain jurisdiction to enforce the

terms of settlement reached between the parties.

                        [SIGNATURE PAGE FOLLOWS]




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      STIPULATED AND AGREED TO THIS 20th DAY OF MAY, 2019:


 Respectfully Submitted,

 Allstate Insurance Company, Allstate Mercyland Health Services, PLLC and
 Fire and Casualty Insurance Company, Mohammed Ali Abraham, M.D. a/k/a
 Allstate Property and Casualty       Mohammed Ali Ibrahim
 Insurance Company, Esurance
 Insurance Company, and Esurance
 Property and Casualty Insurance
 Company

 By their Attorneys,                     By their Attorneys,

  /s/ Jacquelyn A. McEttrick             /s/ Robert L. Akouri
 _____________________                   _______________________
 Richard D. King, Jr.                    Robert L. Akouri (P43788)
 Nathan A. Tilden (P76969)               AKOURI & ASSOCIATES, PLLC
 Jacquelyn A. McEttrick                  6528 Schaefer Road
 Andrew H. DeNinno                       Dearborn, MI 48126
 SMITH & BRINK                           (313) 584-1404
 38777 Six Mile Road, Suite 314
 Livonia, MI 48152

 350 Granite St., Suite 2303
 Braintree, MA 02184
 (617) 770-2214




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ALLSTATE INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY                  C.A. No. 2:18-cv-13336
INSURANCE COMPANY; ALLSTATE
PROPERTY AND CASUALTY                       Paul D. Borman
INSURANCE COMPANY; ESURANCE                 United States District Judge
INSURANCE COMPANY; and
ESURANCE PROPERTY AND
CASUALTY INSURANCE COMPANY,

                       Plaintiffs,

v.

MERCYLAND HEALTH SERVICES,                    ORDER OF DISMISSAL
PLLC; TOX TESTING, INC.;                     WITHOUT PREJUDICE AS
PARAGON LABS, LLC; MICHIGAN                      TO DEFENDANTS
TECHNOLOGY PARTNERS, LLC;                     MERCYLAND HEALTH
CURE IMAGING, LLC; US HEALTH                   SERVICES, PLLC AND
PHARMACEUTICALS, LLC d/b/a                       MOHAMMED ALI
MEDS DIRECT; LIVONIA CARE                      ABRAHAM, M.D. a/k/a
PHARMACY, INC.; BLOCK BILLING                MOHAMMED ALI IBRAHIM
SOLUTIONS, LLC; MICHAEL                               ONLY
ANGELO; CHITRA SINHA, M.D.;
MOHAMMED ALI ABRAHAM, M.D.
a/k/a MOHAMMED ALI IBRAHIM;
and NILESH PATEL,

                       Defendants.




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      This matter having come before the Court upon stipulation of the parties, and

the Court being otherwise fully advised in the premises:

      IT IS HEREBY ORDERED that plaintiffs’ causes of action against

defendants Mercyland Health Services, PLLC and Mohammed Ali Abraham, M.D.

a/k/a Mohammed Ali Ibrahim only are hereby dismissed without prejudice and

without costs to any party. The Court shall retain jurisdiction over this matter only

to enforce the terms of settlement reached between the parties.


      IT IS SO ORDERED.


Dated: May 22, 2019                          s/Paul D. Borman
                                             Paul D. Borman
                                             United States District Judge




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